Case 1:18-cv-00040-JPJ-PMS Document 156 Filed 12/03/21 Page 1 of 2 Pageid#: 2912



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                              ABINGDON DIVISION


  TONY A. MESSER, ET AL.,                    )
                                             )
                    Plaintiffs,              )
                                             )
  v.                                         )    Civil Action No.: 1:18-cv-00040-JPJ-PMS
                                             )
  BRISTOL COMPRESSORS                        )
  INTERNATIONAL, LLC,                        )
                                             )
                 Defendants.                 )

                                  NOTICE OF APPEAL

         Notice is hereby given that Tony A. Messer, et al., Plaintiffs, in this WARN Act

  Class Action, hereby appeal to the United States Court of Appeals for the Fourth Circuit

  from the final judgment entered in this action on the 3rd day of November 2021.

         More particularly, the Plaintiffs appeal the following interlocutory orders of the

  Court made prior to entry of the final order:

         1) The District Court’s error in granting Defendants’ Joint Motion for Partial

            Summary Judgment [ECF 28] finding that the Plaintiffs are not entitled to

            severance pay by its Opinion and Order entered on March 26, 2020 [ECF 109].

         2) The District Court’s error in granting Defendants’ Joint Motion for Partial Summary

            Judgment [ECF 61] AS TO LIABILITY ON SUBCLASS TWO PLAINTIFFS (those

            class members who signed a Stay Bonus Letter Agreements (release) (SBLA)) by

            order entered on March 26, 2020. [ECF 109].

         3) The District Court’s error in granting Defendants’ Joint Motion for Partial Summary

            Judgment [ECF 63] “AS TO CERTAIN EMPLOYEES IN SUBCLASS THREE”

            claiming they “RECEIVED AT LEAST 60 DAYS NOTICE OF THE PLANT

            CLOSING PRIOR TO THEIR TERMINATION” by its order entered on March 26,

            2020. [ECF 109].
Case 1:18-cv-00040-JPJ-PMS Document 156 Filed 12/03/21 Page 2 of 2 Pageid#: 2913




                                                       PLAINTIFFS

                                                       BY COUNSEL

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                             CERTIFICATE OF SERVICE
        I hereby certify on the 3rd day of December 2021, I electronically filed the
  foregoing Notice of Appeal with the Clerk of the United States District Court for the
  Western District of Virginia using the CM/ECF system, which will send a notification
  of such filing (NEF) to all counsel of record.


                                            /s/ Mary Lynn Tate
